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                                No. 23-10362

                        In The
   United States Court of Appeals for the Fifth Circuit

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF PRO-LIFE
  OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF PEDIATRICIANS;
  CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN JESTER, D.O.; REGINA
    FROST-CLARK, M.D.; TYLER JOHNSON, D.O.; GEORGE DELGADO, M.D.,

                              Plaintiffs-Appellees,
                                       v.
FOOD AND DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of Food and
   Drugs; JANET WOODCOCK, M.D., in her official capacity as Principal Deputy
                    (Caption continued on inside cover)
                 On Appeal from the United States District Court
            for the Northern District of Texas (No. 2:22-cv-00223-Z)

MOTION TO FILE BRIEF OF THE STATE OF WEST VIRGINIA AS AMICUS CURIAE IN
        SUPPORT OF PLAINTIFFS-APPELLEES’ OPPOSITION TO A STAY

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 Commissioner, U.S. Food and Drug Administration; PATRIZIA CAVAZZONI, M.D.,
in her official capacity as Director, Center for Drug Evaluation and Research, U.S.
  Food and Drug Administration; UNITED STATES DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; XAVIER BECERRA, Secretary, U.S. Department of Health and
                                   Human Services,

                             Defendants-Appellants,
                                        &
                         DANCO LABORATORIES, L.L.C.,
                              Intervenor-Appellant.
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                 CERTIFICATE OF INTERESTED PERSONS
      Under this Court’s Rule 28.2.1, governmental parties need not furnish a

certificate of interested persons.

                                      /s/ Peter D. Lepiscopo
                                      Peter D. Lepiscopo

                                       Counsel of Record for Amicus Curiae

April 11, 2023
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       Pursuant to FRAP 29 and Fifth Circuit Rule 29, amicus State of West Virginia
(“Amicus”) respectfully moves for leave to file an amicus curiae brief in support of

plaintiffs-appellees’ opposition to stay pending appeal.
       Amicus’ brief is concurrently filed with this motion. No counsel for a party
authored this brief in whole or in part. No person other than Amicus and its counsel

made any monetary contribution intended to fund the preparation or submission of
this brief.
       While a State is permitted to file an amicus brief without the parties’ consent

or permission of the Court during the “consideration of a case on the merits,” Fed.
R. App. P. 29(a)(1)-(2), that Rule does not expressly permit a State to file an amicus
brief during the Court’s consideration of a motion. Accordingly, in an abundance of

caution, Amicus moves for leave to file an amicus brief in support of plaintiffs-
appellees’ opposition to stay pending appeal.
       Amicus submits its brief to highlight the constitutional scope of and limits
upon power granted to the Food and Drug Administration (“FDA”), an issue of
particular relevance to West Virginia’s sovereignty. Similarly, other amici States
have explained numerous issues relating to their particular sovereignty issues and
concerns attending the relevant actions of the Food and Drug Administration.
Finally, in its brief, Amicus further addresses the limits of FDA’s authority vis-à-vis
abortion medications and their use.
       For the foregoing reasons, proposed Amicus respectfully requests leave to file
the accompanying brief.



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                                               Respectfully submitted,

                                               /s/ Peter D. Lepiscopo
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                         CERTIFICATE OF SERVICE
      I certify that on April 12, 2023, the foregoing Motion for Leave to File Brief

of the State of West Virginia as Amicus Curiae in Support of Plaintiffs-Appellees’
Opposition to a Stay Pending Appeal has been served via the Court’s ECF filing
system in compliance with Rule 25(b) and (c) of the Federal Rules of Appellate

Procedure on all registered counsel of record and has been transmitted to the Clerk
of the Court.


                                      /s/ Peter D. Lepiscopo
                                      Peter D. Lepiscopo

                                       Counsel of Record for Amicus Curiae

April 12, 2023




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                     CERTIFICATE OF COMPLIANCE
      This brief complies with the word limitations of Fed. R. App. P. 29(a)(5) and
32(a)(7)(B) because, excluding the parts of the document exempted by Fed. R. App.

P. 32, it contains 243 words. This motion complies with the typeface requirements
of Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.
32(a)(6) because it has been prepared in proportionally spaced typeface, including

serifs, using Microsoft Word 2016, in New Times Roman 14-point font.


                                      /s/ Peter D. Lepiscopo
                                      Peter D. Lepiscopo

                                       Counsel of Record for Amicus Curiae

April 11, 2023




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  BRIEF OF THE STATE OF WEST VIRGINIA AS AMICUS CURIAE IN SUPPORT OF
      PLAINTIFFS-APPELLEES’ OPPOSITION TO A STAY PENDING APPEAL

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 Commissioner, U.S. Food and Drug Administration; PATRIZIA CAVAZZONI, M.D.,
in her official capacity as Director, Center for Drug Evaluation and Research, U.S.
  Food and Drug Administration; UNITED STATES DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; XAVIER BECERRA, Secretary, U.S. Department of Health and
                                   Human Services,

                             Defendants-Appellants,
                                        &
                         DANCO LABORATORIES, L.L.C.,
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      Under this Court’s Rule 28.2.1, governmental parties need not furnish a

certificate of interested persons.

                                      /s/ Peter D. Lepiscopo
                                      Peter D. Lepiscopo

                                       Counsel of Record for Amicus Curiae

April 11, 2023




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         INTRODUCTION AND INTERESTS OF AMICUS CURIAE
      The amicus State of West Virginia submits this brief to highlight the

constitutional scope of and limits upon power granted to the Food and Drug
Administration (“FDA”), an issue of particular relevance to West Virginia’s
sovereignty. Similarly, other amici States have explained numerous issues relating

to their particular sovereignty issues and concerns attending the relevant actions of
the Food and Drug Administration. Finally, in this brief, the amicus State of West
Virginia further addresses the limits of FDA’s authority vis-à-vis abortion

medications and their use.
      No counsel for a party authored this brief in whole or in part. No person other
than amicus curiae and its counsel made any monetary contribution intended to fund

the preparation or submission of this brief.
                                   ARGUMENT
      FDA does not have the authority to set national abortion policy.
      It is blackletter law that FDA—like any other federal agency—has only the
power given it by Congress. Thus, one must always confront a fundamental question
of agency power: “whether Congress in fact meant to confer the power the agency
has asserted.” West Virginia v. Env’t Prot. Agency, 142 S. Ct. 2587, 2607–08 (2022).
Nothing in the text of the Federal Food Drug and Cosmetics Act (“FDCA”) suggests
that Congress accorded FDA the unilateral power to set national abortion policy.
See 21 U.S.C. § 301 et seq. Under ordinary principles of statutory interpretation,
such a contention fails; the FDCA’s text does not so much as mentions abortion.
Nor does it direct FDA to consider the legitimate and important state interests in

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protecting unborn life, maternal health, and the integrity of the medical profession—
interests that the Supreme Court in Dobbs returned to elected representatives. See

Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228 (2022). This conclusion
is reinforced by separation-of-powers principles, which compel reviewing courts to
find “clear congressional authorization” for expansive assertions of agency

authority. Id.
      Under the major questions doctrine, “courts expect Congress to speak clearly
if it wishes to assign to an agency decisions of vast economic and political

significance.” Util. Air Regul. Grp. v. Env’t Prot. Agency, 573 U.S. 302, 324 (2014)
(cleaned up) (“UARG”); see also West Virginia v. Env’t Prot. Agency, 142 S. Ct.
2587, 2609 (2022) (courts must “presume that Congress intends to make major

policy decisions itself, not leave those decisions to agencies”). Terminating a
pregnancy is an issue with “profound moral and spiritual implications … even [at]
its earliest stage.” Planned Parenthood of Southeaster Pennsylvania v. Casey, 505
U.S. 833, 850 (1992). Given the subject matter at the core of the actions at issue
here, “this is a major questions case.”        West Virginia, 142 S. Ct. at 2610.
Accordingly, there would need to be more than a “plausible textual basis” for the
suggestion that Congress yielded nationwide abortion policy to the FDA cloaked in
the guise of evaluating the safety and efficacy of a drug. Id. at 2609. Yet there is
no such “clear congressional authorization.” Id.
      The Risk Evaluation and Mitigation Strategy (REMS) provision, 21 U.S.C. §
355-1, may seem a possibility as statutory support, but this notion is readily
dispelled. That provision merely requires FDA to ensure that the additional safety

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requirements that FDA itself imposes on drugs with known serious risks associated
with adverse reactions are not “unduly burdensome on patient access to the drug.”

Id. § 355-1(f)(2)(C). In no way does that provision give “clear congressional
authorization” for FDA’s actions thereunder to serve as national policy directives or
that such actions are superior to and displace the policy judgment of states on a

different question: whether they will allow abortions and, if so, when, and how. It
would be strange indeed for such an “extraordinary grant of regulatory authority” to
be accomplished through such a “subtle device” like the REMS requirement. See

West Virginia, 142 S. Ct. at 2609.
      Finally, the FDCA has long been understood not to be a vehicle for national
health care policy but rather to set a federal floor on the approval of drugs, allowing

complementary state regulations. See Wyeth v. Levine, 555 U.S. 555, 555 (2009).
The idea that FDA actions regarding a particular drug mandate unfettered access
nationally would effectively “claim to discover in a long-extant statute an
unheralded power” representing a “transformative expansion in [FDA’s] regulatory
authority.” UARG, 573 U. S. at 324. This “newfound power” to regulate abortion,
hidden “in the vague language of an ancillary provision” of the FDCA, would allow
FDA “to adopt a regulatory program that Congress ha[s] conspicuously and
repeatedly declined to enact itself,” West Virginia, 142 S. Ct. at 2610; see Women’s
Health Protection Act of 2021, H.R.3755, 117th Cong. (2021) (failed to pass). As
the Supreme Court said in another FDA case, “Congress could not have intended to
delegate” such a sweeping and consequential authority “in so cryptic a fashion.”



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Food & Drug Admin. v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 160
(2000). Such is the case here, as well.

                                   CONCLUSION
      The Court should reject the request for emergency stay relief from the District
Court’s ruling against the FDA’s actions.

                                               Respectfully submitted,

                                               /s/ Peter D. Lepiscopo
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                         CERTIFICATE OF SERVICE
      I certify that on April 12, 2023, the foregoing Brief of the State of West

Virginia as Amicus Curiae in Support of Plaintiffs-Appellees’ Opposition to a Stay
Pending Appeal has been served via the Court’s ECF filing system in compliance
with Rule 25(b) and (c) of the Federal Rules of Appellate Procedure on all registered

counsel of record and has been transmitted to the Clerk of the Court.


                                       /s/ Peter D. Lepiscopo
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32(a)(7)(B) because, excluding the parts of the document exempted by Fed. R. App.

P. 32, it contains 852 words. This brief complies with the typeface requirements of
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because it has been prepared in proportionally spaced typeface, including serifs,

using Microsoft Word 2016, in New Times Roman 14-point font.


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April 11, 2023




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